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                                   STATEMENT OF FACTS

        Your affiant, Anna Rinner, is a Special Agent with the Federal Bureau of Investigation
(FBI), assigned to the Colorado Springs Resident Agency, Denver Field Office. Currently, I am
tasked with investigating criminal activity in and around the Capitol grounds on January 6, 2021.
As a Special Agent, I am authorized by law or by a Government agency to engage in or supervise
the prevention, detection, investigation, or prosecution of a violation of Federal criminal laws.
This statement of facts is intended to show merely that there is sufficient probable cause for the
issuance of a criminal complaint and does not set forth all my knowledge about this matter.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol
Police attempted to maintain order and keep the crowd from entering the Capitol; however, around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.




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           IDENTIFICATION OF JENNIFER HORVATH’S INVOLVEMENT
                     IN THE EVENTS OF JANUARY 6, 2021

        On January 7, 2021, an individual (“Tipster 1”) submitted an online tip to the FBI that
Wes Croy, whom the tipster personally knew, had boasted in a Facebook Messenger chat that Croy
“was there” during the breach of the U.S. Capitol Building and sent Tipster 1 a picture of himself
and another individual inside the U.S. Capitol Building. Wes Croy has since been identified more
specifically as Glenn Wes Lee Croy. The other individual has since been identified as Terry Lynn
Lindsey.

       In addition to the above-described Facebook Messenger conversation and photograph,
Croy also sent Tipster 1 videos recorded on January 6, 2021 from inside and outside the U.S.
Capitol Building. The inside videos show at least one other individual dressing up a bust of
Winston Churchill with a hat and glasses, with other statues already dressed up, and the crowd of
people inside the Capitol. The outside video is filmed from the scaffoldings and shows protestors
below.

        The individual dressing up the bust of Winston Churchill with a hat and glasses is a
Caucasian woman with blonde hair, wearing a blue hooded sweatshirt and a red baseball cap with
the message “Trump – Keep America Great 2020” on the front in black and white letters. Two
static images from that video are shown below:




        Tipster 1 told the FBI that Croy also had a Twitter account by the name “Croy Wes” and/or
“LSD.” Open-source research identified an account in the name of “LSD @croy_wes.” On
December 27, 2020, LSD @croy_wes replied to a tweet of Colorado Congresswoman-Elect
Lauren Boebert. Boebert tweeted, “Who is going to be in DC on January 6th to stand with
President Donald Trump?” to which LSD @croy_wes replied, “fellow Coloradan we will be
there.”

        In connection with their investigation of Wes Croy, the FBI obtained a search warrant for
his cellular telephone. On December 29, 2020, Croy sent a text message stating, “me and dia are
going to DC on the 6th to fight commies.” I have since learned that Croy’s girlfriend, Jennifer
Horvath (“Horvath”), has a Facebook account under the username “dia.biolical.7” and an email
account with the address diabolical      @gmail.com.

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        Croy also sent instant messages to a group of individuals during the evening of January 6,
2021. In separate messages, Croy stated, “that’s me and my buddy with Lincoln,” “inside the
Capitol,” and “we stormed that shit.” The next day, Croy sent the same group messages in which
he stated, “me dia and my buddy at the 13 minute mark” and provided a link to an online video at
a website named “The Resistance.”

       I reviewed the video to which Croy referred in his message sent on January 7, 2021. That
video shows the unlawful entry into the U.S. Capitol Building of numerous people on January 6,
2021, and was recorded by an individual associated with the website Infowars.com.

       At approximately 12:50 into the video, Croy and Lindsey can be seen entering the U.S.
Capitol Building through the Senate Wing Door as an alarm sounds. At approximately 13:10, a
Caucasian woman with blonde hair, wearing a blue sweatshirt and a red baseball cap, can be seen
holding her cellular telephone, as if recording her entry and/or presence in the U.S. Capitol
Building. A static image from that portion of the video is shown below:




        On December 17, 2021, I interviewed an individual with personal knowledge of the
appearance of Horvath. The individual was a colleague of Horvath’s at Horvath’s place of
employment until approximately November 2021. That individual reviewed the above image and
identified the woman in the red Trump hat as Jennifer Horvath.

        At approximately 13:15 of the recording, Horvath, Croy, and Lindsey can be seen walking
together down a corridor of the U.S. Capitol Building while chanting, “whose house? Our house.”
Horvath is holding a cell phone in her right hand, as if recording her progress into the U.S. Capitol
Building. A static image from that portion of the video is shown below, with Horvath identified
by a red arrow, Lindsey identified by a blue arrow, and Croy identified by a green arrow:



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        The video then shows the rioters entering the Crypt inside the U.S. Capitol Building. At
approximately 17:30 of the recording, the rioters shout at law enforcement officers who were
blocking the progress of the group further into the Capitol Building, including warnings to the
officers to “stand down.” The individual filming the video states, “I’m sure these officers are
scared, but we’re here to just show that we’ve had enough.” Seconds later, the video pans through
the crowd. At approximately 18:04 of the recording, Horvath and Lindsey can be seen pointing at
the officers while chanting, “our house.” At approximately 19:08 of the recording, Horvath and
Lindsey can be seen again. Less than a minute later, the crowd surged and overwhelmed the
officers, pushing further into the U.S. Capitol Building.

        Static images from those portions of the video are shown below, with Horvath identified
by a red arrow and Lindsey identified by a blue arrow:




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        The FBI also recovered a number of videos from Croy’s cell phone. Among those videos
was one that Croy recorded from the West Plaza area of the U.S. Capitol Grounds near the stairs
to the Northwest Terrace of the U.S. Capitol Building. In that video, Croy captured an image of
himself, Horvath, and Lindsey. Horvath was holding a cellular telephone that appears to be the
same cell phone pictured twice above. A static image from that portion of the cell phone video is
shown below, with Horvath identified by a red arrow, Lindsey identified by a blue arrow, and Croy
identified by a green arrow:




        On September 21, 2021, the FBI interviewed Croy with his attorney present. During that
interview, Croy admitted that he and Lindsey unlawfully entered the U.S. Capitol Building on
January 6, 2021. Croy stated that they then followed a large group of people into a hallway and
then into a rounded area. Croy stated that the crowd pushed the officers back until the officers
retreated.


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       During the same interview, Croy admitted that his girlfriend, Jennifer Horvath, drove to
Washington, D.C. with him and went everywhere that he and Lindsey went on January 6, 2021,
including inside the U.S. Capitol Building. Croy acknowledged that Horvath took the picture of
him and Lindsey that was sent to the FBI by Tipster 1.

        On August 9, 2021, Croy pleaded guilty to the offense of Parading, Demonstrating, or
Picketing in a Capitol Building, in violation of 40 U.S.C. § 5104(e)(2)(G). In the Statement of
Offense supporting his guilty plea, Croy admitted that he and Lindsey “were accompanied by an
adult female who went inside the U.S. Capitol with them.” United States v. Croy, No. 1:21-cr-162
(BAH), ECF No. 30 at ¶ 9.

        Through its investigation, including (a) the review of Closed Circuit Television from inside
the U.S. Capitol Building; (b) Croy’s cellular telephone; (c) Lindsey’s Facebook account; and (d)
the interview of Croy, the FBI learned that Croy, Lindsey, and Horvath entered the U.S. Capitol
Building through the Senate Wing Door at approximately 2:18 p.m. – just minutes after the door
had been breached. The three individuals then walked through different parts of the U.S. Capitol
Building. They exited the U.S. Capitol Building through the Memorial Door Exit at approximately
2:37 p.m. Croy stated in his September 1, 2021 interview that the trio left the Building after an
officer told them it was time to leave.

       Croy, Lindsey, and Horvath then loitered in the Southeast Courtyard of the U.S. Capitol
Building until re-entering the Capitol Building through the Rotunda Door at approximately 3:21
p.m. Cell phone video from Croy’s phone shows that they re-entered the Capitol Building in a
crowd while other individuals were exiting the U.S. Capitol Building and as one person said,
“they’re pushing everyone out.” A static image from CCTV video of Horvath’s re-entry into the
U.S. Capitol Building is shown below, with Horvath and Croy identified by a red circle:




        After her re-entry into the U.S. Capitol Building, Horvath was taken to the ground by an
officer in the Capitol Rotunda area because the officer believed that Horvath was carrying pepper
spray.



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       CCTV footage from inside the U.S. Capitol Building then shows Croy, Lindsey, and
Horvath exiting the U.S. Capitol Building for a second time at approximately 3:29 p.m. A static
image from that portion of the video is shown below, with Horvath identified by a red arrow and
Lindsey identified by a blue arrow:




       Through further investigation, the FBI learned that a cellphone associated with the number
XXX-XXX-7029 is used by Horvath. According to an online database, the carrier for XXX-XXX-
7029 is Sprint, which is now owned by T-Mobile. Pursuant to legal process, T-Mobile Wireless
provided subscriber information for the phone number showing that the account holder is Glen
Croy. Law enforcement investigation previously determined that Croy uses a different cell phone,
bearing telephone number XXX-XXX-8764.

       On February 28, 2022, legal process was issued to Google LLC, seeking subscriber
information for accounts that were associated with the email address diabolical   @gmail.com.
On March 2, 2022, legal process was issued to Google LLC, seeking subscriber information for
accounts that were associated with the email address merkaba @gmail.com. Google returned
documentation in response to the legal process. The information provided by Google identified
the subscriber of the diabolical     @gmail.com account as “Dia Bolical” with a billing name of
Glenn Croy. The recovery phone number is XXX-XXX-7029. The information provided by
Google identified the subscriber of the merkaba @gmail.com account as “Jen” with a recovery
email of jenmonster @yahoo.com and a recovery phone number of XXX-XXX-2289.

        Pursuant to an authorized search warrant, law enforcement obtained records from Google
LLC for a list of identifiers for devices utilizing location-based services within a Geofence area
that included the United States Capitol. The records show that the target account associated with
the email address diabolical      @gmail.com was located in the geographic area that includes the
interior of the United States Capitol Building during and near the time of the attack on the Capitol
on January 6, 2021.

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       On February 28, 2022, legal process was issued to Meta Platforms, Inc., the parent
organization of Facebook, seeking subscriber information for accounts that were linked to
Horvath. The referenced Facebook account consisted of the following identifiers: User ID,
100001844168675; Facebook username, dia.bolical.7.

       Facebook returned documentation in response to the legal process. The information
provided by Facebook identified the subscriber of the account as “Jennifer Horvath.” Further
account details provided link the account to Horvath via the registered email address
merkaba @gmail.com.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
Jennifer Horvath violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do so; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; or attempts or conspires to do so.
For purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off,
or otherwise restricted area of a building or grounds where the President or other person protected
by the Secret Service, including the Vice President, is or will be temporarily visiting; or any
building or grounds so restricted in conjunction with an event designated as a special event of
national significance.

        Finally, I submit that there is probable cause to believe that Jennifer Horvath violated 40
U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.



                                                      _________________________________
                                                      Anna Rinner
                                                      Special Agent, FBI

        Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P.
4.1 by telephone, this 10th day of March 2022.
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                                                      ___________________________________
                                                      ZIA M. FARUQUI
                                                      U.S. MAGISTRATE JUDGE


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